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    $VVHVVPHQWRI%RRNVDQG5HFRUGV

    6WHYHQ%%R\OHV&3$&))$%9$6$

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        5HYLHZERRNVDQGUHFRUGVSURGXFHGLQWKLVPDWWHU

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        ¾ 4XLFNHQ)LOHVIRU

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        ¾ 9DULRXV%DQN6WDWHPHQWV

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        ¾ &RUUHVSRQGHQFHDQG2WKHU&RPPXQLFDWLRQV

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    ³+2&$VVRFLDWHV,QF4')´DQGWKHRWKHUHQWLWOHG³+2&$VVRFLDWHV//&4')´ 




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